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 1                             UNITED STATES DISTRICT COURT
 2                         EASTERN DISTRICT OF WASHINGTON
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     UNITED STATES OF AMERICA,
                                                        No.    CR-13-2109-FVS-1
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                       Plaintiff,                              CR-13-2109-FVS-2
                                                               CR-13-2109-FVS-3
 7
                                                               CR-13-2109-FVS-5
                  v.                                           CR-13-2109-FVS-6
 8
                                                        ORDER DENYING "MOTION
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     RUBEN M. TRUJILLO, RICHARD                         [TO] DISMISS FOR
     GONZALEZ, SERGIO MEZA-MEDINA,                      VIOLATION OF DUE PROCESS
10
     DANIEL B. MIMS, and RENE                           AND STATE SOVEREIGNTY”
     RODRIGUEZ,
11
                       Defendants.
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          RUBEN M. TRUJILLO moves to dismiss the Superseding Indictment.
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     He argues the United States’ decision to seek his indictment under the
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     Controlled Substances Act (“CSA”), 21 U.S.C. § 801 et seq, violates
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     the Fifth, Ninth, and Tenth Amendments to the Constitution and, were
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     he convicted, the probable punishment would violate the Eighth
18
     Amendment.
19
          RULE 12
20
          Mr. Trujillo is not arguing the Court lacks jurisdiction.                     Nor is
21
     he arguing the Superseding Indictment fails to state an offense.                     See
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23
     Fed.R.Crim.P. 12(b)(3)(B).        Rather, he claims the instant prosecution

24   is unconstitutional.       That being the case, the Court will construe his

25   motion as a request for relief under Rule 12(b)(2), which states, “A

26   party may raise by pretrial motion any defense, objection, or request


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 1   that the court can determine without a trial of the general issue.”
 2           NO FUNDAMENTAL RIGHT TO GROW MARIJUANA
 3           Mr. Trujillo argues he has a fundamental right to grow marijuana
 4   for medical purposes, and this right is protected by the substantive
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     component of the Due Process Clause of the Fifth Amendment.                Virtually
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     the same argument was considered and rejected by the Ninth Circuit in
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     Raich v. Gonzales, 500 F.3d 850 (9th Cir.2007) (hereinafter “Raich
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     II”).    Writing for the court, Judge Pregerson concluded, “[F]ederal
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     law does not recognize a fundamental right to use medical marijuana
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     prescribed by a licensed physician to alleviate excruciating pain and
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     human suffering.”     Raich II is binding authority.            Thus, the Executive
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     Branch’s decision to proceed with the prosecution does not deprive Mr.
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     Trujillo of a fundamental right.
14
             A 10-YEAR MANDATORY MINIMUM PRISON SENTENCE WOULD NOT VIOLATE THE
15
     EIGHTH AMENDMENT
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             The Eighth Amendment has been interpreted to forbid “'extreme
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18
     sentences that are grossly disproportionate to the crime.'”                United

19   States v. Williams, 636 F.3d 1229, 1232 (9th Cir.2011) (quoting Graham

20   v. Florida, 560 U.S. 48, 60, 130 S.Ct. 2011, 176 L.Ed.2d 825 (2010)

21   (quoting Harmelin v. Michigan, 501 U.S. 957, 1001, 111 S.Ct. 2680, 115

22   L.Ed.2d 836 (1991) (Kennedy, J., concurring))).              “There are two ways

23   to succeed on a proportionality claim.”           Williams, 636 F.3d at 1232.
24   One way is to show the disputed sentence is disproportionate “‘given
25   all the circumstances in the case.’”          Id. (quoting Graham, 560 U.S. at
26   59, 130 S.Ct. 2011).      Another way “is to show that an entire class of


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 1   sentences is unconstitutionally disproportionate given the severity of
 2   the sentence, the gravity of the crime, and the type of offender.”
 3   Id. at 1233.    It is unclear whether Mr. Trujillo may bring an Eighth
 4   Amendment challenge at this stage in the proceedings.               If he is, the
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     only type of challenge he might be able to bring would be the second
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     type.    That is to say, the only type of challenge he might be able to
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     bring would be one alleging a mandatory term of ten years imprisonment
 8
     is categorically disproportionate to either of the crimes which he is
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     alleged to have committed.       The Ninth Circuit recently considered a
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     similar argument in United States v. Shill, 740 U.S. 1347 (9th
11
     Cir.2014).    As in this case, the issue was whether a ten-year
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     mandatory minimum sentence categorically violated the Eighth
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     Amendment.    The Ninth Circuit explained the Supreme Court had only
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     applied categorical analysis in Graham v. Florida, 560 U.S. 48, 130
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     S.Ct. 2011, 176 L.Ed.2d 825 (2010), and Miller v. Alabama, –––U.S.
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     ––––, 132 S.Ct. 2455, 183 L.Ed.2d 407 (2012).              "Both Graham and
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     Miller," said the Ninth Circuit, "expressly turned on two factors not

19   present here:    a juvenile offender and a sentence of life in prison

20   without parole."     Shill, 740 F.3d at 1356.            Neither circumstance was

21   present in Shill.     Mr. Shill was an adult and he had received a

22   mandatory ten-year prison sentence.          That being the case, the Ninth

23   Circuit could see no reason to engage in categorical analysis:
24           Neither Graham nor Miller suggest that a ten-year mandatory
25
             prison term is the type of sentencing practice that requires
             categorical rules to ensure constitutional proportionality.
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             Shill is not a juvenile, and his ten-year mandatory minimum

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 1        sentence is in no way akin to the death penalty. Thus, we
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          refuse to apply the categorical approach to Shill's ten-year
          mandatory minimum sentence.
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     740 F.3d at 1357.     Unlike Mr. Trujillo's case, Shill involved a
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     serious sexual offense.      However, in refusing to employ categorical
 5
     Eighth Amendment analysis, the Ninth Circuit attached no significance
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     to the nature of the crime Mr. Shill had committed.               Only two
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     circumstances mattered.      Mr. Shill was not a juvenile and he had not
 8

 9
     been sentenced to life in prison without the possibility of parole.

10   As in Shill, neither of those circumstances is present in Mr.

11   Trujillo’s case.    Consequently, a potential ten year prison sentence

12   would not be categorically disproportionate in violation of the Eighth

13   Amendment.

14        FEDERAL REGULATION OF MARIJUANA DOES NOT VIOLATE THE NINTH
15   AMENDMENT
16        The Ninth Amendment states, “The enumeration in the Constitution,
17   of certain rights, shall not be construed to deny or disparage others
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     retained by the people.”      Mr. Trujillo vaguely argues federal
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     regulation of marijuana infringes powers granted to the people of the
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     State of Washington under the Ninth Amendment.              His argument finds no
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     support in Ninth Amendment jurisprudence.            Federal appellate courts
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     agree the Ninth Amendment “has not been interpreted as independently
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     securing any constitutional rights for purposes of making out a
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     constitutional violation.”       Schowengerdt v. United States, 944 F.2d
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     483, 490 (9th Cir.1991).      To the contrary, the Ninth Amendment
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     provides a “‘rule of construction,’” Jenkins v. C.I.R., 483 F.3d 90,

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 1   92 (2d Cir.2007), or a “rule of interpretation.”               Goodpaster v. City
 2   of Indianapolis, 736 F.3d 1060, 1075 (7th Cir.2013) (internal
 3   punctuation and citation omitted).
 4        TENTH AMENDMENT
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          Mr. Trujillo argues the Executive Branch of the federal
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     government has commandeered the efforts of state law enforcement
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     officers in order to subvert a State’s decision to decriminalize the
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     use of marijuana for medical purposes.           In Mr. Trujillo's opinion,
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     this sort of conduct is forbidden by the Tenth Amendment.                He is
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     mistaken.   See Raich II, 500 F.3d at 867 and n. 17.              The Ninth Circuit
11
     has repeatedly rejected Tenth Amendment claims challenging federal
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     regulation of marijuana for medical purposes.               See United States v.
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     Firestack-Harvey, CR-13-24-FVS, 2014 WL 1744255 (E.D.Wash. April 30,
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     2014) (listing cases).
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          DEPARTMENT OF JUSTICE GUIDELINES
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          The Department of Justice has issued memoranda that provide
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     guidance to United States Attorneys who are charged with the

19   responsibility of enforcing the Controlled Substances Act in states

20   that allow the use of marijuana for medical purposes.               See, e.g.,

21   United States v. Canori, 737 F.3d 181, 183-84 (2d Cir.2013)

22   (describing the “Ogden” and “Cole” memos).               However, Mr. Trujillo has

23   cited no authority supporting the proposition that such memos create
24   enforceable rights.
25        IT IS HEREBY ORDERED:
26        Ruben Trujillo's "Motion [to] Dismiss for Violation of Due


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 1   Process and State Sovereignty" (ECF No. 280) is denied.
 2        IT IS SO ORDERED.      The District Court Executive is hereby
 3   directed to enter this order and furnish copies to counsel.
 4        DATED this     24th      day of July, 2014.
 5
                               s/ Fred Van Sickle
 6                                 Fred Van Sickle
                         Senior United States District Judge
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